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     Pacific Express Stables, LLC, a Colorado limited liability company; and Susan Burns, Petitioners  v.  First American State Bank, a Colorado corporation. Respondent No. 24SC590Supreme Court of Colorado, En bancMarch 24, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1276
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      PETITIONS FOR WRIT OF CERTIORARI
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    